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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       CRIMINAL NO. 21-cr-399 (RDM)
                v.                             :
                                               :
ROMAN STERLINGOV,                              :
                                               :
                          Defendant.           :


                         JOINT STATUS REPORT AND MOTION
                     TO EXCLUDE TIME UNDER SPEEDY TRIAL ACT

       The United States of America, by and through the Acting United States Attorney for the

District of Columbia, and the Defendant, by and through his counsel, respectfully submit the

following Joint Status Report in response to the Court’s September 29, 2021 Minute Order

directing the parties to “file a Joint Status Report by 11/30/2021.”

       1.       The defendant was charged by criminal complaint on April 26, 2021, on charges of

Money Laundering, in violation of 18 U.S.C. § 1956(a)(3)(A); Operating an Unlicensed Money

Transmitting Business, in violation of 18 U.S.C. § 1960(a); and Money Transmission Without a

License, in violation of D.C. Code § 26-1023(c). The defendant was arrested on April 27, 2021 in

the Central District of California. The defendant was indicted on the same three charges on June

14, 2021.

       2.       On September 8, 2021, the defendant filed a motion pursuant to 18 U.S.C.

§ 3145(b) for review of the pretrial detention order entered in the arresting jurisdiction, the Central

District of California.

       3.       On September 29, 2021, a status conference was held before this Court. The Court

scheduled a detention hearing for October 19, 2021. The Court also directed the parties to file a

Joint Status Report by November 30, 2021.
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         4.       The detention hearing was continued until October 25, 2021. The Court resolved

the defendant’s motion for review of the pretrial detention order by Memorandum Opinion and

Order issued on November 10, 2021.

         5.       The government has produced discovery including more than 8 gigabytes of records

comprising investigative records produced by FBI and IRS-Criminal Investigation, records of

undercover transactions, grand jury subpoena returns, electronic search warrant returns, and other

records. The government has also produced forensic images of the defendant’s cellular phone and

other electronic storage media totaling approximately 814 gigabytes.

         6.       The government is preparing a plea offer and anticipates an offer will be

forthcoming in the next one to two weeks.

         7.       The parties respectfully request a continuance of approximately 45 days to facilitate

review of discovery and discussions between the parties about possible resolution of this case short

of trial. The parties propose that another Joint Status Report be due on or before January 13, 2022.

         8.       The government further moves, pursuant to 18 U.S.C. § 3161(h)(7)(A), to exclude

time under the Speedy Trial Act in the interests of justice from November 20, 2021 until January

13, 2022. This additional period is necessary to allow the defendant to fully review the discovery

in the case, and to allow the parties to engage in discussions regarding possible resolutions of the

case short of trial. Therefore, the government respectfully submits that the ends of justice served

by such exclusion would outweigh the best interest of the public and the defendant in a speedy

trial.

         9.       Counsel for the government has conferred with defense counsel regarding this

motion. The defendant consents to waive his rights under the Speedy Trial Act.




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       WHEREFORE, the government respectfully moves that a further Joint Status Report be

due on or before January 13, 2021, and that the time from November 30, 2021 until January 13,

2022 be excluded from computation under the Speedy Trial Act.



                                          Respectfully submitted,

                                          MATTHEW M. GRAVES
                                          UNITED STATES ATTORNEY
                                          D.C. Bar No. 481052

                                   BY:    /s/ Christopher B. Brown
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